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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


 BELCALIS MARLENIS ALMANZAR,
                                              CIVIL ACTION NO.
     Plaintiff,                               l:19-cv-01301-WMR


                    V.

                                                         FILED IN OPEN CO;^ ;
                                                             U.S.D.C.-Atlan;
 LATASHA TRANSRINA KEBE and
 KEBE STUDIOS LLC,
                                                              JAN 2 5 2022
     Defendants.                                         KEVIN BWEIMER, Clerk
                                                          By: \\\} Deputy Clerk


                              JURY VERDICT


                              Punitive Damages


As to Plaintiffs claim for punitive damages, we, the Jury, award the following
punitive damages:


      As to Defendant Latasha Kebe, we assess the amount of
      $ I Ocicl ^ ^^ tf) _ as punitive damages, which is separate from any
      punitive damages against Defendant Kebe Studios LLC.


      As to Defendant Kebe Studios LLC, we assess the amount of
      $ £>~CO ooo _ as punitive damages, which is separate from any
      punitive damages against Defendant Latasha Kebe.
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                            Litigation Expenses

As to Plaintiffs claim for litigation expenses, we award the amount of

$ /, 3*3 ^\. 7^3 . ^7 against _^ Defendant Latasha Kebe and/or

_^_ Defendant Kebe Studios, LLC.




SO SAY WE ALL, signed and dated, this ^5~ day of January, 2022.



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                                         Foreperson^Si^nature




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